            IN THE DISTRICT COURT OF THE UNITED STATES
           FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                         ASHEVILLE DIVISION

                         CRIMINAL NO. 1:05CR233



UNITED STATES OF AMERICA             )
                                     )
                                     )
            VS.                      )            ORDER
                                     )
                                     )
JULIO PENA GARCIA                    )
                                      )


      THIS MATTER is before the Court on motion of defense counsel for

permission to file for an interim payment of counsel fees.

      For the reasons set forth in the motion and for cause shown,

      IT IS, THEREFORE, ORDERED that counsel’s motion is ALLOWED,

and Mr. Hunter is hereby permitted to file an interim fee petition in this

matter.




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                 Signed: November 7, 2005




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